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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

KEITH JOHNSON                                 :
     Plaintiff,                               :
                                              :
               v.                             :              3:09-cv-240 (CFD)
                                              :
C. WHITE & SON INC.                           :
      Defendant.                              :


                             RULING ON MOTION TO DISMISS

       Plaintiff Keith Johnson brought this action alleging employment discrimination and

retaliation in violation of the Connecticut Fair Employment Practices Act (“CFEPA”), Conn.

Gen. Stat. § 46a-60 et seq., and Title VII of the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C.

§ 2000e et seq. The plaintiff also claims libel and slander. The defendant now moves to dismiss

as time-barred all allegations in the complaint based on facts occurring after February 19, 2008.

The defendant also moves to dismiss the libel and slander count for failure to plead with requisite

specificity. For the reasons that follow, the motion to dismiss is denied.

I.     Background

       The plaintiff, Keith Johnson (“Johnson”), is an African-American man. The defendant,

C. White & Son Inc. (“White & Son”), is a Connecticut fuel transportation corporation. Johnson

began working as a truck driver for White & Son in May 2005. Johnson alleges that through

January 2007, he always received favorable work reviews. He further alleges that around

January 2007, he became aware that he was being paid dramatically less than similarly situated

white drivers working at White & Son. Johnson also alleges that he was discriminated against

with regards to weekend-off requests and bonuses.

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       Beginning in January 2007, Johnson made several complaints to White & Son about the

pay disparity. He alleges that in response, White & Son’s terminal manager, Sean Gee, told him

that “if you don’t like it you can quit.” On December 5, 2007, Johnson told Gee of his belief that

he was being discriminated against because he is black. On December 8, 2007, Johnson

mistakenly dropped red dyed diesel into a clear diesel truck. Johnson received a one-day unpaid

suspension for this mistake, though he claims at least three other drivers had “cross-dropped” but

had not received disciplinary action. Johnson also alleges that White & Son threatened to

terminate him for fabricated allegations of tardiness in or around December 2007.

       On February 19, 2008, Johnson filed a complaint with the Connecticut Commission on

Human Rights and Opportunities (“First CHRO Complaint”). In this complaint, Johnson

complained of the aforementioned alleged discrimination. The CHRO issued a release of

jurisdiction letter dated October 16, 2008.

       On April 7, 2008, White & Son terminated Johnson, who then filed a second complaint

with the CHRO on April 30, 2008 (“Second CHRO Complaint”). In this complaint, Johnson

alleged that he was wrongfully terminated in retaliation for his prior CHRO complaint. On

October 2, 2008, the CHRO issued a release of jurisdiction as to his Second CHRO Complaint.

Thus, the CHRO released jurisdiction on Johnson’s Second CHRO Complaint before it released

jurisdiction on Johnson’s First CHRO Complaint.

       Johnson filed this lawsuit on January 12, 2009, which is fewer than ninety days after the

release of jurisdiction on the First CHRO Complaint, but more than ninety days from the release

of jurisdiction on the Second CHRO Complaint.

II.    Motion to Dismiss Standard


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        In evaluating a jurisdictional challenge under Fed. R. Civ. P. 12(b)(1), the Court must

“accept[] as true all the factual allegations in the complaint and must draw all reasonable

inferences in favor of the plaintiff.” Lunney v. United States, 319 F.3d 550, 554 (2d Cir. 2003).

The plaintiff must establish by a preponderance of the evidence that the court has subject matter

jurisdiction over the complaint. Makarova v. United States, 201 F.3d 110, 113 (2d Cir. 2000).

Courts evaluating Rule 12(b)(1) motions “may resolve the disputed jurisdictional fact issues by

reference to evidence outside the pleadings, such as affidavits.” Zappia Middle East Constr. Co.

Ltd. v. Emirate of Abu Dhabi, 215 F.3d 247, 253 (2d Cir.2000).

III.    Discussion

        The defendant argues that the plaintiff’s allegations that were the subject of the Second

CHRO Complaint are time-barred because he did not file this lawsuit within ninety days of

receipt of the Second CHRO Complaint’s right to sue letter. In order to bring a Title VII or

CFEPA claim, a plaintiff must first exhaust his administrative remedies. Tyszka v. Edward

McMahon Agency, 188 F. Supp. 2d 186, 195 (D. Conn. 2001). Conn. Gen. Stat. § 46a-101

requires that any action brought pursuant to CFEPA “shall be brought within ninety days of the

release [by the CHRO].” See also Golnik v. Amato, 299 F. Supp. 2d 8, 13 (D. Conn. 2003). A

Title VII claim is also not timely if it is not filed within ninety days of a right-to-sue letter. See

42 U.S.C. § 2000e-5(f)(1).

        A plaintiff who fails to meet these exhaustion requirements, however, may still bring his

claim if it is “reasonably related” to a claim he did file with the CHRO. Shah v. New York State

Dept. of Civil Serv., 168 F.3d 610, 614 (2d Cir. 1999). “A claim is considered reasonably related

if the conduct complained of would fall within the ‘scope of the EEOC investigation which can


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reasonably be expected to grow out of the charge’ that was made. Successive conduct that is part

of a continuing wrong is by its very nature ‘reasonably related’ to the earlier conduct.” Fitzgerald

v. Henderson, 251 F.3d 345, 359-60 (2d Cir. 2001).

        White & Son argues that the Court lacks subject matter jurisdiction over Johnson’s claims

for the defendant’s alleged wrongful conduct, including alleged wrongful termination, that was

the subject of Johnson’s Second CHRO Complaint. The CHRO release of jurisdiction as to the

Second CHRO Complaint was issued on October 2, 2008, and was received by Johnson on

October 3, 2008. The defendant argues that Johnson then had ninety days, until January 2, 2009,

to file a complaint stemming from the Second CHRO Complaint. Johnson, however, did not file

his complaint until January 21, 2009. The parties do not dispute that Johnson’s January 21, 2009

filing was within ninety days of the CHRO’s release of jurisdiction on Johnson’s First CHRO

Complaint. Johnson concedes that the he did not file this action within ninety days of the release

of jurisdiction on his Second CHRO Complaint, but argues the wrongful termination allegations

are reasonably related to the allegations of the First CHRO Complaint, on which he timely filed

suit.

        This case does not present the typical “reasonable relation” argument because here

Johnson did actually file a CHRO complaint as to those allegations he now claims are reasonably

related to his First CHRO Complaint. Nonetheless, the Court finds that Johnson’s allegations of

termination and retaliation for his filing of his First CHRO Complaint are reasonably related to

the allegations of the First CHRO Complaint. Shah, 168 F.3d at 613 (holding that reasonably

related claims “include those alleging retaliation by an employer against an employee for filing

the underlying claim of discrimination”) (internal quotation marks omitted). At least in the


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circumstances presently before the Court, the fact that another CHRO complaint was filed does

not eviscerate the “reasonably related” doctrine. Because Johnson’s allegations of wrongful

termination are reasonably related to his First CHRO Complaint allegations, the Court has

subject matter jurisdiction over all of his claims. See, e.g., Jeter v. New York City Dep’t Edu.,

549 F. Supp. 2d 295 (E.D.N.Y. 2008) (holding that although charges mirroring an initial EEOC

complaint were untimely and dismissed, timely charges mirroring a second EEOC complaint and

those “reasonably related to” those charges need not be dismissed).

       The defendants have stressed that the Court should follow the ruling in Ghaly v.

Simsarian, Civ. No. 3:04CV01779 (AWT), 2009 WL 801636 (D. Conn. March 26, 2009). In

Ghaly, the plaintiff filed two separate complaints with the CHRO. Although the CHRO released

jurisdiction on Ghaly’s first CHRO complaint, it did not release jurisdiction on Ghaly’s second

CHRO complaint. The plaintiff then filed suit in the District on Connecticut asserting claims

that were the subject of both the first and the second CHRO complaints. The plaintiff argued that

although the CHRO had not released jurisdiction as to the claims in the second CHRO

complaint, she could raise them in her suit as “reasonably related” to the claims asserted on the

basis of her first CHRO complaint. Id. at *1, 5-6. The court in Ghaly rejected this argument,

reasoning that “that by filing a second CHRO complaint specifically presenting these claims,

Ghaly submitted these claims to the jurisdiction of the CHRO and therefore needed to obtain a

release of jurisdiction before filing an action based on them. She did not obtain a release of

jurisdiction, so the court does not have subject matter jurisdiction over this claim.” Id. at *6.

       The facts of Ghaly are distinguishable from those presently before the Court. The Ghaly

holding was based on the fact that the CHRO had not yet released jurisdiction on Ghaly’s second



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CHRO complaint. Id. In the instant case, however, it is undisputed that the CHRO did release

jurisdiction as to both of Johnson’s complaints. As the Ghaly court noted, were it not for the

failure to obtain the CHRO’s release of jurisdiction, the claims that were the subject of Ghaly’s

second CHRO complaint would likely have been actionable as reasonably related to the claims in

her first CHRO complaint. Id. at *6.

IV.    Conclusion

       For the reasons set forth above, the defendant’s motion to dismiss [Dkt. # 10] is

DENIED. Additionally, the plaintiff may amend his complaint on the libel and slander claim.

       SO ORDERED this 9th day of December 2009, at Hartford, Connecticut.




                                             /s/ Christopher F. Droney
                                             CHRISTOPHER F. DRONEY
                                             UNITED STATES DISTRICT JUDGE




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